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CERTIFICATE OF SERVICE

I, Amanda M. Winfree, hereby certify that, on November 9, 2010, I caused one copy of

the foregoing to be served upon the parties on the attached service list via electronic mail.

Wnt ca

Amanda M. Winfree (#4615)

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Dd ‘AGINNIX 8 ANSLNTS ‘NOSITIV

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woo mejpdea@umogs VIN

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Ao8 jop@aunsuyo yay TVA

MWJH °Z INILSINHD

wooausnoqgpey> @yosynapp ‘wos ausnogpeya@Aewajp
‘WOd aUNOgpe Yy) Majlasywor ausnoqpeyo@uyasjnapp
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ITI SINVNIJ JDUNOSIVIIdVD

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WOd JajOUSsadey@PowNdw -TVIAg

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woo'ZyWMosey@uuayse /wo0I'ZMosey@49uSOAp -TIVING

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WO3'saIesYOYNWS'saseyD “VIN

d11 S3LV9S V8

wos‘ JauUal M|1eAe!wos wauual@asaaj}so ‘wos iauual@psojpesgp - VA

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WOd'MV1LLO@YONVTNY9S STIV

471 ‘OIUNVYL OY3SENIIUD

WOD"MVILO@GOYOTIW “IVINS

d71 ‘OINVUL SYIGNFIYO

Woo 4yuss@pwq VIA

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dT1 ‘SVINOHL 8 SSTININdS NITEYVHdOWI

WOd'spooMmainsow @asauejesd ‘wos'spoomans.w@soowsd : WWW

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31A08 VONN

woo Suaquiajsimal@Mosemu
‘WO3"3J9quiajsima|@oIBuole ‘wos Braquiajysima|@3saquiayp WA

‘D'd ‘NOSYOVI 8 Y3NWNAY ‘337 ‘OYSENI3S ‘SIM37

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Woo UeWayINZ@Aanesewy VINE

d11 ¥dGIVdS NVIANYSNDNZ

Woo ueWJayINZ@ysngz -IWWs

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WOD'1SDA@ANVITIAW'WOD LSDAMAGVYY IVAW

471 ‘YOTAVL 8 LLVDUVLS AVMVNOD ONNOA

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Td ‘SASINOG '8 3109 VZINOLSVd NVINSTSH VLOUAS SSISM

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TRIBUNE COMPANY, ET AL.

(Electronic Service List for Mediation Parties)

Email Addresses Firm Party Represents
jconlan@sidley.com James F. Conlan, Esquire Tribune Company
bkrakauer@sidley.com Bryan Krakauer, Esquire
klantry@sidley.com James Bendernagel, Esquire

jbendernagel@sidley.com
jhenderson@sidley.com
jboelter@sidley.com
kkansa@sidley.com\
kmills@sidley.com

Janet Henderson, Esquire
Jessica Boelter, Esquire
Kenneth Kansa, Esquire
Kerriann Mills, Esquire
Sidley Austin LLP

One South Dearborn Street
Chicago, IL 60603

Tel: 312.853.7000

Fax: 312.853.7036

Kevin T. Lantry, Esquire -
Sidley Austin LLP

555 West Fifth Street

Los Angeles, CA 90013

npernick@coleschotz.com
kstickles@coleschotz.com

Norman Pernick, Esquire
Kate Stickles, Esquire

Cole, Schotz, Meisel,
Forman & Leonard, P.A.
500 Delaware Ave., Ste 1410
Wilmington, DE 19801

Tel. 302.651.3131

Fax: 302.652.3117

Tribune Company

dgheiman@jonesday.com
bberens@jonesday.com
dshafer@jonesday.com
dahall@jonesday.com

David G. Heiman, Esquire
Brad Erens, Esquire

David Shafer, Esquire
Jones Day

North Point

901 Lakeside Avenue
Cleveland, OH 44114-1190
Tel: 216.586.7175

Fax: 216.579.0212

Special Counsel for the Special
Committee of Tribune
Company's Board of Directors

dliebentritt@tribune.com
deldersveld@tribune.com

Don Liebentritt, Executive Vice
President/General Counsel
Tribune Company

435 N. Michigan Avenue
Chicago, IL 60611

Tribune Company

{00453659;v1}46429/0001-7104393v1

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Page 10 of 15

andrew.goldman@wilmerhale.com

Andrew Goldman, Esquire
Wilmer Hale

399 Park Avenue

New York, NY 10022
Tel: 212.230.8836

Fax: 212.230.8888

Angelo Gordon & Co LP

collins@rlf.com
sdsloan@rlf.com

Mark D. Collins, Esquire

Drew Sloan, Esquire

Richards, Layton & Finger, P.A.

One Rodney Square, 920 N. King Street
Wilmington, DE 19801

Tel: 302.651.7700

Fax: 302.651.7701

Angelo Gordon & Co LP

efriedman@fklaw.com
wweintraub@fklaw.com

Edward Friedman, Esquire
William P. Weintraub, Esquire
Friedman Kaplan Seiler

& Adelman LLP

1633 Broadway

New York, NY 10019

Tel: 212.833.1109

Fax: 212.373.7909

Aurelius Capital Management
LP

wbowden@ashby-geddes.com
awinfree@ashby-geddes.com

William Bowden, Esquire
Amanda Winfree, Esquire
Ashby & Geddes

500 Delaware Avenue, 8th Floor
Wilmington, DE 19801

Tel: 302.654.1888

Fax: 302.654.2067

Aurelius Capital Management
LP

dgolden@akingump.com
pdublin@akingump.com
kwesch@akingump.com
Ihutchins@akingump.com

Daniel H. Golden, Esquire
Philip C. Dublin, Esquire
Kristina Wesch, Esquire
Laurie E. Hutchins, Esquire
Akin Gump Strauss
Hauer & Feld LLP

One Bryant Park

New York, NY 10036

Aurelius Capital Management
LP

bennettb@hbdlawyers.com
johnstonj@hbdlawyers.com
mesterj@hbdlawyers.com

Bruce Bennett, Esquire

James O. Johnston, Esquire
Hennigan Bennett & Dorman

865 South Figueroa Street, Suite 2900
Los Angeles, CA 90017

Tel: 213.694.1200

Fax: 213.694.1234

Credit Agreement Lenders

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Case 08-13141-BLS Doc 6293-2 Filed 11/09/10 Page 11 of 15

rbrady@ycst.com
mbcleary@ycst.com

Robert S. Brady, Esquire
M. Blake Cleary, Esquire
Young Conaway

Stargatt & Taylor LLP

The Brandywine Building — 17th Floor
1000 West Street, Post Office Box 391

Wilmington, DE 19899 0391
Tel: 302.571.6600
Fax: 302.571.1253

Credit Agreement Lenders

dadler@mccarter.com

David Adler, Esquire
McCarter & English LLP
245 Park Avenue, 27th Floor
New York, NY 10167

Tel: 212.609.6847

Fax: 212.645.1025

Deutsche Bank Trust Company
Americas

kmayer@mccarter.com

Katherine L. Mayer, Esquire
McCarter & English LLP
Renaissance Centre

405 N. Market Street, 8" Floor
Wilmington, DE 19801

Tel: 302.984.6300

Fax: 302.984.6399

Deutsche Bank Trust Company
Americas

dbradford@jenner.com

David J. Bradford, Esquire
Jenner & Block LLP

353 N. Clark Street
Chicago, IL 60654-3456
Tel: 312.923.2975

Fax: 312.840.7375

EGI-TRB LLC

carickhoff@blankrome.com

David W. Carickhoff, Esquire
Blank Rome LLP

1201 Market Street, Suite 800
Wilmington, DE 19801

Tel: 302.425.6434

Fax: 302.428.5127

EGI-TRB LLC

donald.bernstein@davispolk.com
elliott. moskowitz@davispolk.com
dennis.glazer@davispolk.com
damian.schaible@davispolk.com
michael.russano@davispolk.com
eli. vonnegut@davispolk.com

Donald S. Bernstein, Esquire
Elliott Moskowitz, Esquire
Dennis E. Glazer, Esquire
Damian S. Schaible, Esquire
Michael Russano, Esquire
Davis Polk & Wardwell LLP
450 Lexington Avenue

New York, NY 10017

Tel. 212.450.4580

Fax: 212.701.5580

JPMorgan Chase Bank, N.A.

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collins@rlficom
stearn@rlf.com

Mark Collins, Esquire, Esquire
Robert Stearn, Esquire, Esquire
Richards, Layton & Finger, P.A.
One Rodney Square

920 N. King Street

Wilmington, DE 19801

Tel. 302.651.7700

Fax: 302.651.7701

JPMorgan Chase Bank, N.A.

drosner@kasowitz.com
aglenn@kasowitz.com
skorpus@kasowitz.com
mstein@kasowitz.com
dfliman@kasowitz.com

David S. Rosner, Esquire
Andrew K. Glenn, Esquire
Sheron Korpus, Esquire
Matthew B. Stein, Esquire
Daniel A. Fliman, Esquire
Kasowitz, Benson, Torres &
Friedman LLP

1633 Broadway

New York, NY 10019
Tel: 212.506.1747

Fax: 212.835.5047

Law Debenture Trust Company
of New York

gmcedaniel@bglawde.com

Garvan McDaniel, Esquire
Bifferato Gentilotti

800 North King Street, Plaza Level
Wilmington, DE 19801

Tel: 302.429.1900

Fax: 302.429.8600

Law Debenture Trust Company
of New York

hseife@chadbourne.com
dlemay@chadbourne.com
ddeutsch@chadbourne.com

Howard Seife, Esquire
David M. LeMay, Esquire
Douglas E. Deutsch, Esquire
Chadbourne & Parke LLP
30 Rockefeller Plaza

New York, NY 10112

Tel: 212.408.5100

Fax: 212.541.5369

Official Committee of
Unsecured Creditors

landis@Irclaw.com

Adam Landis, Esquire
Landis, Rath & Cobb

919 Market Street, Suite 1800
PO Box 2087

Wilmington, DE 19899

Tel: 302.467.4400

Fax: 302.467.4450

Official Committee of
Unsecured Creditors

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gbush@zuckerman.com
tmacauley@zuckerman.com
jsottile@zuckerman.com

Graeme Bush, Esquire
Zuckerman Spaeder LLP
1800 M Street, NW, Suite 1000
Washington, DC 20036-5807
Tel: 202.778.1801

Fax: 202.822.810

Thomas MacCauley, Esquire
Zuckerman Spaeder LLP
919 Market Street, Suite 990
P.O. Box 1028

Wilmington, DE 19801

Tel: 302.427.0400

Fax: 302.427.8242

Official Committee of
Unsecured Creditors

afriedman@olshanlaw.com
swolosky@olshanlaw.com
flevy@olshanlaw.com

Adam H. Friedman, Esquire

Steve Wolosky, Esquire

Fredrick J. Levy, Esquire

Olshan Grundman Frome
Rosenzweig & Wolosky LLP

Park Avenue Tower

65 East 55th Street

New York, NY 10022

Tel: 212.451.2216

Fax: 212.451.2222

Step One Senior Lenders

dabbott@mnat.com

Derek Abbott, Esquire

Morris Nichols Arhst & Tunnell LLP
1201 North Market Street

Wilmington, DE 19899

Tel: 302.351.9357

Fax: 302.425.4664

Step One Senior Lenders

hkaplan@arkin-law.com
ddavidian@arkin-law.com

Howard J. Kaplan, Esquire
Deanna Davidian, Esquire
Arkin Kaplan Rice LLP
590 Madison Avenue

New York, NY 10022

Tel: 212.333.0200

Fax: 212.333.0246

Step One Senior Lenders

{00453659;v1}

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Evan.Flaschen@bgllp.com

Andrew.Schoulder@bgllp.com

Evan Flaschen, Esquire
Bracewell & Giuliani
225 Asylum Street

Suite 2600

Hartford, CT 06103-1516
Tel: 860.947.9000

Andrew Schoulder, Esquire
Bracewell & Giuliani

1251 Avenue of the Americas
49th Floor

New York, NY 10020-1104
Tel: 212.508.6100

Step One Senior Lenders

rstark@brownrudnick.com
msiegel@brownrudnick.com

kbromberg@brownrudnick.com

gnovod@ brownrudnick.com

Robert J. Stark, Esquire

Martin S. Siegel, Esquire
Katherine S. Bromberg, Esquire
G. Novod, Esquire

Brown Rudnick LLP

Seven Times Square

New York, NY 10036

Tel: 212.209.4800

Fax: 212.209.4801

Wilmington Trust Company

rlemisch@beneschlaw.com
jhoover@beneschlaw.com

Raymond H. Lemisch, Esquire
Jennifer R. Hoover, Esquire
Benesch, Friedlander,

Coplan & Aronoff

222 Delaware Avenue, Suite 801
Wilmington, DE 19801

Tel: 302.442.7006

Fax: 302.442.7012

Wilmington Trust Company

tlauria@whitecase.com

Thomas E. Lauria, Esquire

White & Case

200 S. Biscayne Blvd., Suite 4900
Miami, FL 33131-2352

Tel: 305.995.5282

Fax: 305.358.5744

Wells Fargo Bank, N.A.

dhille@whitecase.com
sgreissman@whitecase.com
ahammond@whitecase.com

David G. Hille, Esquire

Scott Greissman, Esquire
Andrew W. Hammond, Esquire
White & Case

1155 Avenue of the Americas
New York, NY 10036-2787
Tel: 212.819.8567

Fax: 212.354.8113

Wells Fargo Bank, N.A.

{00453659:v1}

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jschlerf@foxrothschild.com
esutty@foxrothschild.com

Jeffrey Schlerf, Esquire

Eric M. Sutty, Esquire

Fox Rothschild LLP

Citizens Bank Center

919 N Market Street, Suite 1600
P.O. Box 2323

Wilmington, DE 19899-2323
Tel: 302.654.7444

Fax: 302.656.8920

Wells Fargo Bank, N.A.

david. klauder@usdoj.gov

David M. Klauder, Trial Attorney
Office of the United States Trustee
J. Caleb Boggs Federal Building
844 King Street, Suite 2207
Lockbox 35

Wilmington, DE 19801

Tel: 302.573.6539

Fax: 302.573.6497

United States Trustee

{00453659;v1}

